            Case 8:15-bk-11875-MW                               Doc 124 Filed 09/02/15 Entered 09/02/15 14:01:06                                Desc
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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &              FOR COURT USE ONLY
 Email Address
 Leonard Peña (State Bar No. 1929898)
 PEÑA & SOMA, APC
 402 South Marengo Ave., Suite B
 Pasadena, CA 91101
 626-396-4000 Fax: 213-291-9102
 State Bar Number: 192898
 lpena@penalaw.com


     Debtor(s) appearing without an attorney
     Attorney for: Debtors and Debtors In Possessions

                                                            UNITED STATES BANKRUPTCY COURT
                                                             CENTRAL DISTRICT OF CALIFORNIA
In re:
                                                                                         Lead Case No.: 8:15-bk-11875 MW
In re:                                                                                   Chapter 11 Cases

THE LITTLE SAIGON NEWS INCORPORATED,

          Debtor and
          Debtor in Possession,
_______________________________                                                          Jointly administered with:
In re:                                                                                   Case No. 8:15-bk-11876 MW

Brigitte Laure Huynh,
                                                                                         NOTICE OF MOTION FOR ORDER
          Debtor and                                                                     WITHOUT HEARING
          Debtor in Possession.                                                          PURSUANT TO LBR 9013-1(o)
_______________________________
X Affects Both Debtors

_ Affects The Little Saigon
  News Incorporated Only

_ Affects Brigitte Laure Huynh Only
           Debtors and
           Debtors in Possession.




                                                                                                  [No hearing unless requested in writing]
                                                                             Debtor(s)




TO THE U.S. TRUSTEE AND ALL PARTIES IN INTEREST. PLEASE TAKE NOTICE THAT:

1. Movant(s) Debtors Little Saigon News Incorporated and Brigitte Laure Huynh , has filed a motion entitled
                                                                                         DEBTORS
AND DEBTORS IN POSSESSIONS’ APPLICATION FOR AUTHORITY TO RETAIN AND EMPLOY SANLI PASTORE & HILL TO
PROVIDE VALUATION SERVICES TO THE DEBTORS                  .

                This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                           F 9013-1.2.NO.HEARING.NOTICE
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2. Movant(s) is requesting that the court grant the motion without a hearing, as provided for in LBR 9013-1(o).

3. The motion is based upon the legal and factual grounds set forth in the Motion and briefly described in the attached
   description of relief sought. (Check appropriate box below):

           The full motion is attached hereto; or
           The full motion has been filed with the court, and a detailed description of the relief sought is attached hereto

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party objecting to the motion may request a hearing on the motion. The deadline for filing and
   serving a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3
   additional days if you were served by mail, electronically, or pursuant to F.R.Civ.P.5(b)(2)(D), (E), or (F). If you fail to
   comply with this deadline, the court may treat such failure as a waiver of your right to oppose the motion and may grant
   the motion without further hearing and notice.


Date: September 2, 2015                                                          Respectfully submitted,

                                                                                 /S/ LEONARD PENA
                                                                                 Signature of Movant or attorney for Movant

                                                                                 LEONARD PENA
                                                                                 Printed name of Movant or attorney for Movant




           This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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     LEONARD PEÑA (State Bar No. 192898)
 1
     lpena@penalaw.com
 2   PEÑA & SOMA, APC
     402 South Marengo Ave., Suite B
 3   Pasadena, California 91101
     Telephone (626) 396-4000
 4
     Facsimile (213) 291-9102
 5
     Attorneys for Debtors
 6   and Debtors in Possession
 7
                         UNITED STATES BANKRUPTCY COURT
 8

 9                       CENTRAL DISTRICT OF CALIFORNIA

10                               SANTA ANA DIVISION
11

12   In re:                                )   Lead Case No.: 8:15-bk-11875 MW
                                           )
13
     THE LITTLE SAIGON NEWS                )   Chapter 11 Cases
                                           )
14   INCORPORATED,                         )
                                           )
15             Debtor and                  )
               Debtor in Possession,       )
16                                         )
     _______________________________       )
     In re:                                    Jointly administered with:
17                                         )
                                           )   Case No. 8:15-bk-11876 MW
18   Brigitte Laure Huynh,                 )
                                           )   DEBTORS AND DEBTORS IN
19
               Debtor and                  )   POSSESSIONS’ APPLICATION FOR
                                           )   AUTHORITY TO RETAIN AND EMPLOY
20             Debtor in Possession.       )
     _______________________________           SANLI PASTORE & HILL TO PROVIDE
                                           )   VALUATION SERVICES TO THE
21   X Affects Both Debtors                )   DEBTORS
                                           )
22
     _ Affects The Little Saigon           )
                                           )
23     News Incorporated Only              )
                                           )
24   _ Affects Brigitte Laure Huynh        )
       Only                                )
25
                Debtors and                )
                                           )
26              Debtors in                 )
                Possession.                )
27                                         )   [NO HEARING SET/REQUIRED]
                                           )
28
                                                1
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 1         The above-captioned Debtors and Debtors-in-Possession
 2   hereby submit this application (the “Application”), pursuant to
 3   Sections 327(a) and 328(a) of title 11 of the United States Code
 4   (the “Bankruptcy Code”) and Rule 2014 of the Federal Rules of
 5   Bankruptcy Procedure (the “Bankruptcy Rules”) for entry of an
 6   Order authorizing the retention and employment of Sanli Pastore
 7   & Hill (“SP&H”) to provide valuation and consulting services to
 8   the Debtors in these Chapter 11 cases. In further support of
 9   this Application, the Debtors submit the Affidavit of Thomas E.
10   Pastore, a CEO of SP&H (the “Pastore Declaration”) and Brigitte
11   Laure Huynh (“Huynh Declaration”).
12         In support of this Application, the Debtors respectfully
13   represent as follows:
14                                  Jurisdiction
15         1.    This Court has jurisdiction over this matter pursuant
16   to 28 U.S.C. § 1334. This is a core proceeding within the
17   meaning of 28 U.S.C. § 157(b)(2). Venue in this Court is proper
18   pursuant to 28 U.S.C. §§ 1408 and 1409.
19

20                                    Background
21         2.    On April 13, 2015 (the “Petition Date”), the Debtors
22   filed voluntary petitions in this Court for relief under Chapter
23   11 of the Bankruptcy Code.
24         3.    The Debtor The Little Saigon News Incorporated
25   (“Little Saigon”) is S-corporation formed under the law of the
26   State of California.
27         4.    Debtor Brigitte Huynh (“Huynh”) is an individual.
28
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 1         5.    Little Saigon is publisher of a weekly Vietnamese
 2   language magazine distributed nationwide.          Ms. Huynh is Little
 3   Saigon’s CEO and Editor in Chief.
 4         6.    The Debtors are continuing in possession of their
 5   property as debtors-in-possession pursuant to Sections 1107 and
 6   1108 of the Bankruptcy Code. The Debtors’ cases were
 7   consolidated for administrative purposes only.
 8

 9                                Relief Requested
10         7.    By this Application, the Debtors seek authorization to
11   employ and retain SP&H pursuant to Bankruptcy Code Sections
12   327(a) and 328(a), Bankruptcy Rule 2014(a), and the terms of
13   that certain letter agreement, dated as of August 26, 2015,
14   between SP&H and the Debtors (the “Agreement”), to provide
15   valuation and consulting services to the. A copy of the
16   Agreement is attached hereto as Exhibit “1”.
17   8.    The services of SP&H are necessary in order to enable the
18   Debtors to exercise their rights and discharge their duties as
19   debtors-in-possession, and in particular, to allow the Debtors
20   to successfully prepare, negotiate, and confirm a plan of
21   reorganization. The Debtors seek approval of SP&H’s fees and
22   expenses in accordance with SP&H’s standard hourly rates for
23   engagements of this nature and its normal reimbursement policies
24   for out-of-pocket expenses, subject to payment pursuant to
25   applicable provisions of the Bankruptcy Code, the Bankruptcy
26   Rules, the Local Rules and any orders of this Court, including
27   the filing fee applications.
28   / / /
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 1                             SP&H’s Qualifications
 2         9.    SP&H is a provider of professional business valuation
 3   services to clients throughout the United States. SP&H delivers
 4   valuation and consulting services for assets in a wide range of
 5   industries including, but not limited to, the publishing
 6   industry. SP&H has significant experience providing services
 7   including financial valuation, machinery and equipment
 8   valuation, real estate valuation, and litigation support.
 9

10                           Scope of SP&H’s Services
11         10.   Subject to the Court’s approval of this Application,
12   and as more fully set forth in the Agreement, SP&H will render
13   the following professional services:
14               (a)   determine the fair market value of the equity in
15                     Little Saigon and Huynh utilizing methods of
16                     valuation as may be appropriate under the
17                     circumstances;
18               (b)   provide a comprehensive expert report for such
19                     valuations if requested by the Debtors; and
20               (c)   upon request, provide expert testimony and
21                     litigation support services on valuation issues
22                     in connection with the Debtors’ Chapter 11 cases.
23

24                                  Compensation
25         11.   Pursuant to Section 328(a) of the Bankruptcy Code, the
26   Debtors may retain SP&H on any reasonable terms and conditions.
27   The Debtors have negotiated the terms of the Agreement with
28   SP&H, which is an arms-length, commercially reasonable
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 1   agreement. The Debtors request approval of the terms of the
 2   Agreement, including the compensation provisions therein,
 3   pursuant to Section 328(a) of the Bankruptcy Code.
 4         12.   Subject to the Court’s approval of this Application
 5   and subject to applicable provisions of the Bankruptcy Code, the
 6   Bankruptcy Rules, the Local Rules and any orders of this Court,
 7   SP&H shall be compensated under the Agreement based on its
 8   standard hourly rate not to exceed of $500.00. SP&H will also
 9   seek reimbursement of out-of-pocket expenses. SP&H will submit
10   invoices to the Debtors on a monthly basis, which invoices shall
11   be payable subject to approval by this Court.
12         13.   SP&H will also require a retainer of $6,000.00 which
13   shall be paid to SP&H upon approval of this Application.
14         14.   SP&H expects that its fees and expenses associated
15   with preparing a valuation report will not exceed $15,000.00 and
16   by this Application the Debtors seek authority to pay SP&H up to
17   $15,000.00 for this part of the assignment.
18         15.   Should SP&H’s fees and expenses exceed $15,000.00, the
19   Debtors seek authority from the Court to pay those fees and
20   expenses as they are invoiced to the Debtors, but SP&H shall be
21   required to file a fee application for final approval of the
22   fees and expenses that exceed the $15,000.00.
23

24                                Disinterestedness
25         16.   SP&H has informed the Debtors that, except as
26   described in the Pastore Declaration, SP&H has no material
27   connection with the Debtors, their creditors, any other party in
28   interest, their respective attorneys and accounts, the United
                                              5
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 1   States Trustee, or any person employed in the office of the
 2   United States Trustee.
 3         17.   Based on the Pastore Declaration and to the best of
 4   the Debtors’ knowledge, information and belief, SP&H (i) does
 5   not hold or represent any interest adverse to the Debtors or
 6   their estates in the matters for which it is proposed to be
 7   retained, and (ii) is a “disinterested person” as that term is
 8   defined in Section 101(14) of the Bankruptcy Code.
 9         18.   The Debtors do not believe that SP&H’s representation
10   of any other the parties in unrelated matters will impair SP&H’s
11   ability to perform valuation services for the Debtors in these
12   cases.
13         19.   Furthermore, the Debtors submit that the employment of
14   SP&H would be in the best interests of the Debtors, their
15   estates, and their creditors.
16

17                                      Notice
18         20.   Notice of this Application shall be given to the
19   following parties or to their counsel, if known: (i) the Office
20   of the United States Trustee, (ii) all known creditors and (iii)
21   all other parties that have requested notice pursuant to
22   Bankruptcy Rule 2002. The Debtors submit that, in light of the
23   nature of the relief requested, no other or further notice need
24   be given.
25   / / /
26   / / /
27   / / /
28   / / /
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 1                      DECLARATION OF THOMAS E. PASTORE
 2         I, Thomas E. Pastore, declare:
 3         1.    I am the Chief Executive Officer of Sanli Pastore &
 4   Hill ("SP&H").    I have personal knowledge of the facts described
 5   herein and, if called as a witness, I could and would testify
 6   competently thereto.
 7         2.    This declaration is submitted in support of the
 8   application (the “Application”) of the Debtors in the above-
 9   captioned Chapter 11 cases for authorization to employ and
10   retain SP&H provide valuation services and to apprise the Court
11   of my qualifications and my firm’s qualifications to rendered
12   such services.
13         3.    SP&H is a provider of professional business valuation
14   services to clients throughout the United States. SP&H delivers
15   valuation and consulting services for assets in a wide range of
16   industries, including, but not limited to, the publishing
17   industry. SP&H has significant experience providing services
18   including financial valuation, machinery and equipment
19   valuation, real estate valuation, and litigation support.
20         4.    I am a member in good standing of American Society of
21   Appraisers, Los Angeles Society of Financial Analysts and other
22   similar organizations.
23         5.    In addition, I am a Certified Public Accountant
24   (inactive) and hold a Masters Degree In Business Administration.
25   6.    I have been in involved in financial consulting for more
26   than 25 years    and have prepared business appraisals for the
27   many years and have consulted with business clients regarding
28   acquisitions and dispositions for small business interests.
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 1         7.    I have served numerous times as an expert witness
 2   regarding business valuations and accounting related issues.
 3         8.    Other than the initial communications between my firm
 4   and representatives of the Debtors with respect to the retention
 5   of my firm in these Chapter 11 cases, neither I nor, to the best
 6   of my knowledge, any other member or employee of my firm had any
 7   business, or other connection, with the Debtors, their
 8   attorneys, financial advisors, or any other party in interest.
 9         9.    The Debtors have provided me with a list of all
10   creditors of the Debtors and persons who may be parties-in-
11   interest in connection with these Chapter 11 cases. SP&H ran a
12   conflicts check based on that list and to the best of my
13   knowledge, neither my firm nor any associate thereof has had any
14   connection with the Debtors’ creditors or any other party in
15   interest
16         10.   I do not believe that there is any connection or
17   interest (as such terms are used in Section 101(14)(C) of the
18   Bankruptcy Code and Bankruptcy Rule 2014(a)) between SP&H or its
19   employees and (i) the United States Trustee or any person
20   employed by the Office of the United States Trustee, or (ii) any
21   attorneys of creditors in this case.
22         11.   SP&H and its employees are “disinterested persons” as
23   that term is defined in Section 101(14) of the Bankruptcy Code:
24               (a) SP&H is not a creditor, an equity security holder,
25               or an insider of the Debtors;
26               (b) SP&H is not and was not, within two years before
27               the date of the commencement of these Chapter 11
28
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 1               cases, a director, officer, or employee of the
 2               Debtors; and
 3               (c) SP&H does not have an interest materially adverse
 4               to the interest of the estate or of any class of
 5               creditors or equity security holders, by reason of
 6               any direct or indirect relationship to, connection
 7               with, or interest in, the Debtors or for any other
 8               reason.
 9   12.   Insofar as I have been able to ascertain, SP&H does not
10   represent any entity having an adverse interest in connection
11   with these Chapter 11 cases. To the extent that I discover any
12   facts bearing on the matters described herein during the period
13   of SP&H’s retention, I will supplement the information contained
14   in this declaration. SP&H does not, nor will it, represent an
15   entity directly adverse to the Debtors or their estates.
16         13.   Subject to the Court’s approval, SP&H will render
17   services and charge for its services in accordance with the
18   letter agreement, dated August 26, 2015, between SP&H and the
19   Debtors (the “Agreement”), which is attached as Exhibit “1” to
20   the Application.
21         14.   SP&H’s professional services will include:
22         (a)   determine the fair market value of the equity in
23               Little Saigon and Huynh utilizing such methods as may
24               be appropriate under the circumstances;
25         (b)   provide a comprehensive expert report for such
26               valuations if requested by the Debtors; and
27

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                                              10
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 1         (c)   upon request, provide expert testimony and litigation
 2               support services on valuation issues in connection
 3               with the Debtors’ Chapter 11 cases.
 4         15.   SP&H provide a comprehensive expert report for such
 5   valuation upon the Debtors’ request.
 6         16.   Furthermore, upon request, SP&H has agreed to provide
 7   expert testimony on valuation issues in connection with the
 8   Debtors’ Chapter 11 cases.
 9         17.   As more fully set forth in the Agreement, SP&H is
10   willing to provide the aforementioned services and to receive
11   compensation on an hourly basis that will no exceed an hourly
12   rate of $500.00. SP&H will also seek reimbursement of its out-
13   of-pocket expenses.
14         18.   SP&H will submit invoices to the Debtors on a monthly
15   basis, which invoices shall be payable subject to approval by
16   this Court.    SP&H will also require a retainer of $6,000.00
17   which shall be paid to SP&H upon approval of this Application.
18         19.   SP&H expects that its fees and expenses associated
19   with preparing a valuation report will not exceed $15,000.00 and
20   by this Application the Debtors seek authority to pay SP&H up to
21   $15,000.00 for this part of the assignment.
22         20.   Should SP&H’s fees and expenses exceed $15,000.00, I
23   understand the Debtors seek authority from the Court to pay
24   those fees and expenses as SP&H invoices those fees and expenses
25   to the Debtors, but SP&H shall be required to file a fee
26   application for final approval of the fees and expenses that
27   exceed the $15,000.00.
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                                              11
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 1                    DECLARATION OF BRIGITTE LAURE HUYNH
 2         I, Brigitte Laure Huynh, declare:
 3         1.    I am the President and Chief Executive Officer of The
 4   Little Saigon News Incorporated ("Little Saigon").            I have
 5   personal knowledge of the facts described herein and, if called
 6   as a witness, I could and would testify competently thereto.
 7         2.    My case and the case of Little Saigon were commenced
 8   on April 13, 2015 (the "Petition Date") by the filing of
 9   petitions for relief under Chapter 11 of the United States
10   Bankruptcy Code.
11         3.    I offer this declaration in support of the application
12   to employ Sanli Pastore & Hill ("SP&H") to provide valuation
13   services to the Little Saigon and me.         These services are
14   necessary so that we can begin to formulate a chapter 11 plan of
15   reorganization that is based upon the value of the company’s and
16   my assets.
17         4.    I have read the application and to the best of my
18   knowledge is true and correct.
19         5.    The scope of SP&H’s services that will be provided to
20   the Debtors is described in the letter agreement dated August
21   26, 2015 that I signed on behalf of both Debtors a true and
22   correct copy of which is attached hereto as Exhibit “1”.
23         6.    As more fully set forth in the Agreement, SP&H is
24   willing to provide the aforementioned services and to receive
25   compensation on an hourly basis that will no exceed an hourly
26   rate of $500.00. SP&H will also seek reimbursement of its out-
27   of-pocket expenses.
28
                                              13
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 1         7.    SP&H will submit invoices to the Debtors on a monthly
 2   basis, which invoices shall be payable subject to approval by
 3   this Court.    SP&H will also require a retainer of $6,000.00
 4   which shall be paid to SP&H upon approval of this Application.
 5         8.    SP&H expects that its fees and expenses associated
 6   with preparing a valuation report will not exceed $15,000.00 and
 7   by this Application the Debtors seek authority to pay SP&H up to
 8   $15,000.00 for this part of the assignment.
 9         9.    Should SP&H’s fees and expenses exceed $15,000.00, I
10   understand the Debtors seek authority from the Court to pay
11   those fees and expenses as SP&H invoices those fees and expenses
12   to the Debtors, but SP&H shall be required to file a fee
13   application for final approval of the fees and expenses that
14   exceed the $15,000.00.
15         10.   I intend to review any and all fee applications filed
16   by Applicant and will object to any attorneys' fees and costs
17   which appear to be inappropriate.
18         11.   I believe no conflict-of-interest exists between
19   myself, Applicant and/or my creditors or the creditors of Little
20   Saigon.
21   / / /
22   / / /
23   / / /
24   / / /
25   / / /
26   / / /
27   / / /
28   / / /
                                              14
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                             EXHIBIT “1”
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                                                                                                                  Business Valuations
                                                                                                                   Fairness Opinions
                                                                                                                   Solvency Opinions
                                                                                                                    Expert Testimony
                                                                                            Strategic Value Enhancement Consulting SM




                                                                         Los Angeles   Sacramento   San Diego   Chicago    Istanbul



August 26, 2015


VIA EMAIL: lpena@penalaw.com

Mr. Leonard Peña
Attorney at Law
Peña & Soma, APC
402 South Marengo Ave., Suite B
Pasadena, California 91101

                  RE:     Retainer Agreement for the Valuation of 100% Equity Interest in The Little Saigon
                          News Incorporated
                          U.S. Bankruptcy Court Case Number: 15- BK - 11875

Dear Mr. Peña:

This letter constitutes a retainer agreement (“Agreement”) between The Little Saigon News Incorporated and Brigitte
Huynh, both Chapter 11 debtors, (“Clients”) on one hand, and Sanli Pastore & Hill, Inc. ("SP&H"), a California
Corporation, on the other hand.

I.      BUSINESS VALUATION
        SP&H will perform a valuation of a 100% equity interest in The Little Saigon News Incorporated (the
        “Company”). SP&H will transmit its valuation in the form of a report (“Valuation Report”) with supporting
        schedules. SP&H’s work and reporting procedures will be in compliance with the applicable standards of
        the American Society of Appraisers, the Appraisal Foundation and U.S. Federal Bankruptcy Court. The
        date of value will be provided by Clients.

II.     PURPOSE & FUNCTION
        Purpose: To determine the valuation of a 100% equity interest in the Company

        Function: To provide information to be used in Bankruptcy Court.

        Date of Value: To be provided by Clients.

        The Valuation Report and any information provided to Clients by SP&H only may be used for the Purpose
        and Function indicated herein.

III.    SCOPE OF WORK
        Our work will include but not be limited to, the following procedures:
         Review of the Company’s operations;
         Review of relevant agreements for the Company;
         Review of financial information of the Company;


Sanli Pastore & Hill, Inc.
1990 South Bundy Drive, Suite 800
Los Angeles, California 90025
Telephone: 310/571-3400
Fax: 310/571-3420
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August 26, 2015
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               Review of market transactions, as available;
               Quantitative and qualitative industry, competitive, economic and market reviews;
               Valuation analyses relevant to the Company’s common equity shares including valuation adjustments for
                control and marketability; if any;
               Computerized data searches and analysis;
               Analysis of other information collected and deemed relevant by SP&H;
               Analysis of other pertinent information provided by Company; and
               Preparation of a valuation report.

IV.       FEES & EXPENSES
          A.     Report Section:
                 SP&H's fee range to perform this assignment is $12,000 to $15,000. Turnaround time is 5 to 7
                 weeks for the Valuation Report assuming that all information requested is provided in a timely
                 manner and that key members are reasonably available to answer questions. This fee is based on
                 the assumption that we do not encounter unforeseen circumstances and/or that we are not required
                 to perform analyses and procedures that are beyond the scope of a regular business valuation
                 assignment and that cannot be predicted as of the date of the Agreement.

                     For the above fee, SP&H will deliver the Clients one original narrative report in an electronic format.
                     Print copies of our original reports can be furnished to Clients at an additional fee of $350 per report.
                     To request additional copies, please write in the additional number of reports requested, initial and
                     date:

                     Additional number of reports ______ x $350 per Narrative Report = $________

                                *Additional fee above and beyond the base fees as described above.

                     Our fees are payable as follows:
                     i)       $6,000 non-refundable retainer fee to be delivered with a signed copy of this Agreement to
                              SP&H;
                     ii)      $3,000 second payment, payable approximately half way through the turnaround time; and
                     iii)     The remaining balance of SP&H’s fees are due and payable in full prior to SP&H’s release
                              of the finalized report to Clients.1

                                SP&H’s hourly billing rates applicable to report work are as follows:
                                       $500               Messrs. Nevin Sanli and Thomas Pastore
                                       $375 - $400        Managers and Vice Presidents
                                       $185 - $350        Research Analysts and Financial Analysts
                                       $145               Interns




1
  If any payment is not received by SP&H within 10 days of the date of SP&H’s invoice, Clients shall pay to SP&H a late charge of $50.00 for
each calendar month in which all or any part of any payment remains outstanding and unpaid for more than 10 days after the date of SP&H’s
invoice. The parties agree that this late charge represents a reasonable estimate of the damages, which SP&H will suffer as a result of such
delinquency (other than interest and, in the event of legal action, attorney’s fees, costs and administrative expenses). Additionally, if any
payment is not received by SP&H within 10 days of the date of SP&H’s invoice, Clients shall pay to SP&H interest on the outstanding and
unpaid amount, from the date due until paid, at the rate of 1-1/2% per month and any credits granted shall be revoked.
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                 Payments should be sent to:          SPH
                                                      P.O. Box 251845
                                                      Los Angeles, CA 90025

                 In the event we must stop before completion, SP&H’s hourly billing rates applicable to the Report
                 Section are enclosed on the attached Addendum to this Agreement. You hereby understand and
                 agree that billing rates provided herein will be applicable until December 31, 2015 and after
                 which, this Agreement is subject to an increase in our hourly rates every year.

         B.      Post-Report Work:
                 SP&H's hourly fees for post-report work, i.e. work that is above and beyond the scope of preparing
                 the Valuation Report, range from $145 to $700 per hour above and beyond the estimated fees quoted
                 above.

                 Post-report work can include, but is not limited to, such matters as attendance at meetings and
                 communications with Clients or management relating to analyses of value or other matters not
                 associated with information required to perform our narrative reports, attendance at additional
                 meetings and consultations with Clients or management of the Clients, review of other appraiser's
                 reports, attendance at negotiations, audit hearings, testimony in hearings, and preparation for such
                 meetings.

                 In the event of any litigation relating to the work performed by SP&H, SP&H’s Post-Report Work
                 hourly billing rates are applicable and payable to SP&H upon receipt of invoice by Clients regardless
                 if we are named expert witnesses or percipient witnesses.

                 All post-report work will be billed on a time-billing basis at the rate of $700 per hour for Messrs.
                 Sanli and Pastore, $475 per hour for Mr. Forrest Vickery, and at the rates quoted above in Report
                 Section for all other analysts. We reserve the right to request additional retainer amounts to cover
                 post-report work fees before performing any post-report work.

                 All Post-Report Work will be at the prior written request of Clients.

                 If Clients request any valuation assignment for a purpose other than that specified in this
                 Agreement or requests that SP&H expand its original work, such assignments will be subject to
                 separate retainer agreements and fee estimates may be adjusted.

                 The billing rates provided herein will be applicable until December 31, 2015, after which date our
                 rates may be revised.

        C.       Out-of-Pocket Expenses
                 SP&H shall be reimbursed for all reasonable out-of-pocket expenses that have been pre-approved in
                 writing by Clients, including, but not limited to, automobile mileage, airfare, parking and purchases of
                 special publications, comparable market transactions, research and supplies. Automobile mileage will
                 be reimbursed at the rate of $0.575 per mile.
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  V.      CONFIDENTIALITY
          Without written consent separate from this Agreement, SP&H will use documents and other information
          received from Clients in connection with the above Matter, and all work product created by SP&H (such
          documents, information, and work product, collectively, "Material") only for the provision of services under
          this Agreement. SP&H will retain and keep strictly confidential all Material, will not furnish or otherwise
          disclose Material or its contents to the Court or any third parties without the prior written consent of Clients
          unless required by law to do so, and will deliver to Clients all Material upon request of Clients, subject to
          file retention requirements of the American Society of Appraisers and/or the Appraisal Foundation. If
          required to disclose any Material, SP&H will provide notice to Clients of SP&H's obligation to do so in
          time that Clients have a reasonable opportunity to object to such disclosure.

  VI.     NO IMPLIED GUARANTEES
          SP&H cannot guarantee that settlements, court or jury decisions will equal or approximate the amounts
          determined by SP&H. Payment of SP&H's fees is not contingent on and cannot be delayed pending any
          outcome.

 VII.     DUE DILIGENCE
          Clients and/or Company each warrants that he/she/it is not misrepresenting, altering, fabricating, or editing
          data provided to SP&H. SP&H will assume that all information provided by Clients is true and accurate
          unless otherwise specified. Clients release SP&H of all liability concerning the validity of data provided by
          Clients.

VIII.     DISPUTE
          Any controversy or claim arising out of or relating to this Agreement may be submitted to binding arbitration
          solely at SP&H’s option and in accordance with JAMS Comprehensive Arbitration Rules & Procedures, and
          shall be held in the City of Los Angeles, California. Judgment upon the award rendered by the arbitrator may
          be entered in any court of competent jurisdiction. The parties shall have the right to conduct discovery
          pursuant to C.C.P. §1283.05 and shall have the right to request a statement of anticipated evidence pursuant to
          C.C.P. §1282.2. Any party shall be entitled to request a statement of decision setting forth the arbitrator's
          findings of fact and conclusions of law, which shall be prepared by the arbitrator upon such request. The
          arbitrator's award shall conform to the evidence and the law, and it shall include costs and attorney's fees
          incurred by the prevailing party. Any award which fails to conform with the foregoing requirements shall be in
          excess of the arbitrator's powers, and any such award may be corrected or vacated by a court of competent
          Jurisdiction pursuant to C.C.P. §§1286 through 1286.8, inclusive.

          If any action, including but not limited to arbitration/mediation, is instituted to enforce this Agreement or any
          portion thereof, the prevailing party shall be entitled to recover all attorneys’ fees and costs actually incurred.
          Monies that are recoverable by the prevailing party include, but are not limited to, collection time, attorneys’
          fees, administrative costs and expenses.

  IX.     LIMITATION ON LIABILITY
          a. Parties agree that neither SP&H, independent contractors, and affiliates will be liable to Parties for any and
          all claims, liabilities, costs, and expenses relating to this engagement for any amount in excess of the fees paid
          by Parties to SP&H in connection with this engagement, except to the extent that any of the foregoing results
          from the gross negligence, bad faith or willful misconduct of SP&H.

          b. SP&H’s written and/or oral consultation is advisory only. SP&H makes no guarantee, representation, or
          promise for any particular results.
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        c. In no event shall SP&H, independent contractors, or affiliates be liable for any damages whatsoever
        (including, without limitation, incidental, punitive, exemplary, special and consequential damages, lost profits,
        or any other damages or business interruption) resulting from the services provided by SP&H.

        SP&H would not be able to provide the professional services for this engagement without such limitations.

X.      INDEMNIFICATION
        Clients agree to indemnify and hold SP&H harmless against any losses, claims, damages or liabilities, to
        which SP&H may become subject in connection with services performed pursuant to this Agreement.
        Furthermore, Clients agree to reimburse, as incurred, SP&H for any legal or other expenses incurred by
        SP&H in connection with investigating or defending any action, proceeding, investigation or claim in
        connection therewith. However, Clients shall not be obligated under the foregoing indemnity agreement
        with respect to any loss, claim, damage or liability resulting from action in connection therewith to the
        extent that a court having jurisdiction shall have determined in a final judgment that such loss, claim,
        damage or liability resulted primarily from the negligence of SP&H. For purposes of this Agreement,
        negligence is defined as acts or omissions representing a material departure from standards of ordinary care.
        The reimbursement and indemnity obligations of Clients under this paragraph shall be in addition to any
        liability Clients may otherwise have; shall extend upon the terms and conditions to the shareholders,
        directors, officers, employees, agents and controlling persons (if any) of SP&H; and, shall be binding upon
        and inure to the benefit of any successors, assigns, heirs and personal representatives of Clients, SP&H, and
        any such persons. The foregoing provisions shall survive any termination of this Agreement.

XI.     SEVERABILITY
        If any provision of this Agreement be held to be invalid, or otherwise unenforceable for any reason, in
        whole or in part, the remaining provisions of this document shall continue to be valid and enforceable. All
        the provisions of this document shall survive until the completion or termination of this engagement.

XII.    REPRESENTATION REGARDING AGREEMENT
        The parties agree and acknowledge that this Agreement represents the entire understanding between them
        with respect to the subject matter hereof, and that no promises or representations of any kind other than as
        set forth herein have been made by, or on behalf of, the parties, to one another. This Agreement shall
        supersede all prior and contemporaneous oral or written agreements or understandings concerning the
        subject matter hereof. If any portion of this Agreement shall be finally determined to be invalid or
        unenforceable, in whole or in part, the remaining provisions hereof shall continue in full force and effect
        and be binding upon the parties hereto. This Agreement shall be governed by the internal laws of the State
        of California without giving effect to conflicts of law rules. The relationship between SP&H and Clients
        shall not be that of agent and principal, but rather independent contractor and engaging party, respectively.
        Neither this Agreement nor any portion hereof may be assigned to a third party without prior written
        consent of the other parties hereto. Each party, and each party's attorney, if any, specifically agrees that, in
        entering into this Agreement, he, she or it has not relied on any representation or opinion of fact, law or
        otherwise, made by another party or attorney, other than representations set forth in writing herein.

XIII.   TERMINATION OF AGREEMENT
        SP&H reserves the right to terminate this Agreement in the event that Clients are past due in monies due to
        SP&H. In the event of termination of this Agreement, Clients may not name SP&H as its expert and SP&H
        will not perform any more work for Clients. Upon termination, SP&H is entitled to all fees for work completed
        and additional costs as provided in this Agreement.
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                                               ADDENDUM

                                             BILLING RATES

                                 January 1, 2015 – December 31, 2015


Nevin Sanli, ASA, Chairman of the Board…………………………..………………..…....$500.00 per hour

Thomas E. Pastore, ASA, CPA CFA,
President and Chief Executive Officer……………………...……...............................……...$500.00 per hour

Forrest Vickery, Managing Director, Northern California...………………………..……$425.00 per hour

Managers & Vice Presidents………………………………………….......……...$375.00 - $400.00 per hour

Financial Analysts - Senior Associates….………………...........................…....$185.00 - $350.00 per hour

Interns ……………………………………………………….……………………….......…….... $145.00 per hour


Note: Support staff time is not billed.


Court Testimony

       Pre-trial and trial work is billed at the following rates:

        Nevin Sanli, Chairman of the Board................………………………..…...………. $700.00 per hour

        Thomas E. Pastore, President and Chief Executive Officer……..………..……$700.00 per hour

        Forrest Vickery, Managing Director, Northern California……………….….…$475.00 per hour



All other employees of SP&H are billed at their standard billing rates as indicated above. We
require reimbursement for out-of-pocket expenses at cost. Auto mileage is billed at the standard
rate of $.575 per mile.
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                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
PEÑA & SOMA, APC
402 South Marengo Ave., Suite B
Pasadena, CA 91101

A true and correct copy of the foregoing document entitled (specify): Notice of Motion and Motion for Order without Hearing
Pursuant to LBR 9013-1(o) will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) 9/2/15   , I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:
Nancy S Goldenberg on behalf of U.S. Trustee United States Trustee (SA)                           nancy.goldenberg@usdoj.gov
Douglas G Levin on behalf of Creditor Nguoi Viet Daily News, Inc.                                 DLevin@gibsondunn.com
Douglas G Levin on behalf of Creditor Dat Huy Phan                                                DLevin@gibsondunn.com
Douglas G Levin on behalf of Creditor Vinh Hoang                                                  DLevin@gibsondunn.com
Craig Millet on behalf of Creditor Nguoi Viet Daily News, Inc.                                    cmillet@gibsondunn.com,
                                                                        pcrawford@gibsondunn.com;cmillet@gibsondunn.com
Craig Millet on behalf of Creditor Dat Huy Phan                                                   cmillet@gibsondunn.com,
                                                                        pcrawford@gibsondunn.com;cmillet@gibsondunn.com
Craig Millet on behalf of Creditor Vinh Hoang                           cmillet@gibsondunn.com,
                                                               pcrawford@gibsondunn.com;cmillet@gibsondunn.com
R G Pagter, Jr. on behalf of Creditor Marie To                                   gibson@ppilawyers.com, ecf@ppilawyers.com
R G Pagter, Jr. on behalf of Creditor Paul Huynh                                 gibson@ppilawyers.com, ecf@ppilawyers.com
Leonard Pena on behalf of Debtor The Little Saigon News Incorporated             lpena@penalaw.com, penasomaecf@gmail.com
Leonard Pena on behalf of Debtor Brigitte Laure Huynh                            lpena@penalaw.com, penasomaecf@gmail.com
Leonard Pena on behalf of Plaintiff The Little Saigon News Incorporated          lpena@penalaw.com, penasomaecf@gmail.com
United States Trustee (SA)                                                       ustpregion16.sa.ecf@usdoj.gov
David R. Weinstein on behalf of Interested Party David R. Weinstein              dweinstein@weinsteinlawfirm.net
David R. Weinstein on behalf of Interested Party Joseph Le                       dweinstein@weinsteinlawfirm.net
David R. Weinstein on behalf of Interested Party Stephen B. Holliday             dweinstein@weinsteinlawfirm.net

2. SERVED BY UNITED STATES MAIL: On (date) 9/2/15                , I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing
to the judge will be completed no later than 24 hours after the document is filed.
Hon. Mark S. Wallace
United States Bankruptcy Court
411 West Fourth Street, Suite 6135 / Courtroom 6C
Santa Ana, CA 92701-4593

                                                                                      Service information continued on attached page


3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)       , I served the following persons and/or entities
by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission
and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
9/2/15                     LEONOR ARTEAGA                                    /S/ LEONOR ARTEAGA
Date                         Printed Name                                               Signature


             This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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The Little Saigon News Incorporated          American Express                      An Quoc Nguyen
13861 Seaboard Circle                        Box 0001                              415 South 49th Street
Garden Grove, CA 92843                       Los Angeles, CA 90096-0001            Philadelphia, PA 19143




Felix Shafir                                 Brigitte Laure Huynh                  California Association of Realtors
Curt Cutting                                 13861 Seaboard Circle                 10900 Westminster Blvd
Horvitz & Levy LLP                           Garden Grove, CA 92843                Second Floor
15760 Ventura Blvd., 18th Floor                                                    Garden Grove, CA 92843
Encino, Ca 91436-3000


Bank of America                              Citi                                  CitiCards
PO Box 60069                                 PO Box 6241                           PO Box 6000
City Of Industry, CA 91716-0068              Sioux Falls, SD 57117                 The Lakes, NV 89163-6000




Charles H. Manh                              Dat Huy Phan                          Employment Development Department
8990 Westminster Blvd. Second Floor          14771 Moran Street                    Bankruptcy Group MIC 92E
Westminster, CA 92683                        Westminster, CA 92683                 P.O. Box 826880
                                                                                   Sacramento, CA 94280-0001



Dat Huy Phan                                 Franchise Tax Board                   General Newsprint, Inc.
Hoyt Elvin Hart II                           Attn Bankruptcy                       888 West Crowther Ave.
PO Box 675670                                PO Box 2952                           Placentia, CA 92870
Rancho Santa Fe, CA 92067                    Sacramento, CA 95812-2952



Forward Air, Inc.                            International Daily News              Kim Anh Ngyuen
PO Box 1058                                  870 Monterey Pass Road                415 South 49th Street
Greeneville, TN 37744                        Monterey Park, CA 91754               Philadelphia, PA 19143




Internal Revenue Service                     Mathew B. Weisberg                    Nam Quoc Nguyen
PO Box 21126                                 Weisberg Law                          17614 Laguna Trail Drive
Philadelphia, PA 19114                       7 South Morton Avenue                 Houston, TX 77095
                                             Morton, PA 19070



Marie To                                     Orange County Sheriffs Department     Ricardo Zapata
C/O Ralph Gibson Pagter                      11100 Cedar Street                    Ricardo A. Torres APLC
525 N Cabrillo Park Dr # 104                 Stanton, CA 90680                     2677 N Main Stret Suite 100
Santa Ana, CA 92701                                                                Santa Ana, CA 92705



Nguoi Viet News, Inc.                        WKS Properties, LLC                   Vinh Hoang
Hoyt Elvin Hart II                           a California Limited Liability Comp   Hoyt Elvin Hart II
PO Box 675670                                17910 Pint Reyes Street               PO Box 675670
Rancho Santa Fe, CA 92067                    Fountain Valley, CA 92708             Rancho Santa Fe, CA 92067



Thomas Pastore                               Joseph Le                             Ally Nguyen
Sanli Pastore & Hill                         808 South Glen Park                   808 South Glen Park
1990 S. Bundy Dr., Ste 800                   Anaheim, California 92808             Anaheim, California 92808
Los Angeles, CA 90025
